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      11                           UNITED STATES BANKRUPTCY COURT
      12                            EASTERN DISTRICT OF CALIFORNIA
      13
             In re:
      14     Jamelia Antoinette Robinson,                      Bankruptcy Case No.: 17-90400-D-13G
      15                            Debtor.                    Adv. No.: 17-09005
                                                               Docket Control No. KLN-1
      16
             Jamelia Antoinette Robinson,
      17                            Plaintiff,
                                                               NOTICE OF MOTION AND
      18     vs.                                               HEARING ON FEE APPLICATION
                                                               OF PLAINTIFF’S COUNSEL
      19     Pacific Motors,                                   and
      20                            Defendant.                 BAR DATE FOR OBJECTIONS

      21                                                       Hearing Date: October 23, 2018
                                                               Hearing Time: 10:00am
      22
                                                               Dept: D (Courtroom 34)
      23

      24              NOTICE IS HEREBY GIVEN a hearing on the Renewed First Fee Application of
      25    Plaintiff’s Counsel is scheduled for October 23, 2018 at 10:00 AM at the United States
      26    Bankruptcy Court Eastern District of California, Modesto Division, 1200 I Street, Suite 4,
      27    Modesto, CA 95354.
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       1          Oppositions to the Renewed First Fee Application of Plaintiff’s Counsel must be filed
       2    within 21 days of the date of this Notice.
       3           Failure to file timely written opposition may result in the Application being granted by
       4    the Court without oral argument or the striking of untimely written opposition.
       5          Parties may determine whether the matter has been resolved without oral argument or
       6    whether the court has issued a tentative ruling by checking the Court’s website at
       7    www.caeb.uscourts.gov after 4:00 P.M. the day before the hearing.
       8          Parties appearing telephonically must view the pre-hearing dispositions prior to the
       9    hearing.
      10    DATED: September 11, 2018                                  NEELEY LAW FIRM,          PL C

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                                                                  /s/ Kenneth L. Neeley
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                                                                Kenneth L. Neeley
      13                                                        Attorney for Plaintiff

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